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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION



IN RE:                                                      Case No. 17-22502-BKC-AJC
                                                            Chapter 7
IZQUIERDO, OSCAR


                     Debtor(s)                       /

             TRUSTEE'S NOTICE OF FINAL DIVIDENDS TO CREDITORS
7KHWUXVWHHKHUHLQILOHVWKLV1RWLFHRI'LYLGHQGVWRWKH&UHGLWRUVRIWKLVHVWDWH$WWDFKHG
hereto is the Trustee's Final Dividend made to creditors.
7KHGLYLGHQGFKHFNVZHUHPDLOHGWRFUHGLWRUVRQNovember 21, 2018,IFKHFNVDUHQRW
cashed within 90 days by the creditors all remaining funds will be turned over to the clerk of
FRXUWIRUGHSRVLWLQWRWKH867UHDVXU\SXUVXDQWWR86&DDQG/RFDO5XOH



Date: November 21, 2018                               By: /s/ Marcia T. Dunn, Trustee
                                                      Marcia T. Dunn, Trustee
                                                      555 N.E. 15th Street
                                                      Suite 934-A
                                                      Miami, Florida 33132
                                                      Telephone: (786) 433-3866
                                                      Facsimile: (786) 260-0269
                                                      Email: mdunn@dunnlawpa.com
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                                                  Claims Distribution Register
                                         Case: 17-22502-AJC OSCAR IZQUIERDO
                           Claimant                         Amount         Amount         Paid to           Claim           Proposed
Claim #   Date       Pri   Proof/<Category>/Memo             Filed         Allowed         Date            Balance          Payment
Ch. 7 Admin Claims
                       100 MARCIA T. DUNN                       675.00         675.00          675.00                0.00          0.00
                           555 N.E. 15 STREET, SUITE
                           934-A
                           MIAMI, FL 33132


                       100 MARCIA T. DUNN                        47.32          47.32             47.32              0.00          0.00
                           555 N.E. 15 STREET, SUITE
                           934-A
                           MIAMI, FL 33132


    5                  100 DUNN LAW, P.A.                     1,000.00        1,000.00       1,000.00                0.00          0.00
                           555 N.E. 15th Street
                           Suite 934-A
                           Miami, FL 33132


    6                  100 DUNN LAW, P.A.                        89.97          89.97             89.97              0.00          0.00
                           555 N.E. 15th Street
                           Suite 934-A
                           Miami, FL 33132


          Total for Priority 100 100.00 % Paid                1,812.29        1,812.29       1,812.29                0.00          0.00

                     Total for Ch. 7 Admin Claims:            1,812.29        1,812.29       1,812.29                0.00          0.00

Unsecured Claims
    1     03/26/18     300 DISCOVER BANK                      6,449.42        6,449.42         484.72         5,964.70             0.00
                           Discover Products Inc
                           PO Box 3025
                           New Albany, OH 43054-3025


    2     04/06/18     300 Capital One Bank (Usa), N.A.       3,242.18        3,242.18         243.68         2,998.50             0.00
                           Po Box 71083
                           Charlotte, Nc 28272-1083


    3     04/06/18     300 Lincoln Automotive Financial      13,568.50            0.00              0.00             0.00          0.00
                           Services
                           Po Box 62180
                           Colorado Springs, Co 80962


    4     06/19/18     300 PYOD, LLC                          1,321.36        1,321.36            99.31       1,222.05             0.00
                           c/o Resurgent Capital Services
                           Po Box 19008
                           Greenville, SC 29602


          Total for Priority 300 7.52 % Paid                 24,581.46       11,012.96         827.71        10,185.25             0.00

                     Total for Unsecured Claims:             24,581.46       11,012.96         827.71        10,185.25             0.00

                                          Total for Case:    26,393.75       12,825.25       2,640.00        10,185.25             0.00
